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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                          4:18CR76-RH

JOHN THOMAS BURNETTE.
_________________________________/


                  DEFENDANT’S UNOPPOSED MOTION
                 TO CONTINUE SENTENCING HEARING

      Defendant John Thomas Burnette (“Burnette”), pursuant to N.D. Fla. Loc.

R. 6.1, hereby moves unopposed to continue the October 28, 2021 sentencing

hearing to the week of November 8, 2021, and in support states:

      1.    On August 13, 2021, this Court set Burnette’s sentencing hearing for

October 28, 2021.

      2.    Burnette’s counsel, Tim Jansen (“Jansen”), currently has a trial

scheduled before Chief Judge Mark Walker in United States v. Jimmy Lee

Highsmith, Case Number 4:21CR8-MW, on October 25, 2021 (the “Highsmith

Trial”).

      3.    The Highsmith Trial is expected to last several days through and

including October 28, 2021.
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      4.     Jansen contacted Assistant United States Attorney David Goldberg

(“Goldberg”) to request a continuance of the Hightower Trial; however, the

Government opposes a continuance in that case.

      5.     Instead of agreeing to continue the Hightower Trial, Goldberg

indicated that he spoke to Peter Nothstein, the lead prosecutor in the Burnette case,

about continuing Burnette’s sentencing hearing.

      6.     In addition to Jansen’s conflict, Burnette’s counsel, Greg Kehoe, has a

recently scheduled hearing on an international matter at The Hague on October 29,

2021, that also conflicts with the October 28, 2021 sentencing date due to the

required travel.

      7.     On September 20, 2021, the Government sent correspondence

agreeing to a continuance of Burnette’s sentencing hearing to the week of

November 8, 2021.

      WHEREFORE, Defendant, John Thomas Burnette, respectfully requests

that this Court continue Burnette’s October 28, 2021 sentencing hearing to any

date and time that is convenient for the Court during the week of November 8,

2021.


Dated: September 22, 2021                Respectfully submitted,


                                         /s/ Gregory W. Kehoe
                                         Gregory W. Kehoe

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                      CERTIFICATE OF CONFERENCE

      In accordance with the local rules, the undersigned conferred with counsel

for the United States of America regarding the relief sought in this motion. The

United States of America does not object to the relief sought in this motion.

                                              /s/ Gregory W. Kehoe
                                                Attorney



                         LOCAL RULE 7.1(F) CERTIFICATE

      I certify that this paper contains 261 words, per Microsoft Word’s word

count, which complies with the word limit requirements set forth in Local Rule

7.1(F).

                                              /s/ Gregory W. Kehoe
                                                Attorney


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 22 day of September, 2021, I

electronically filed the foregoing with the Clerk of the Court by using the CM/ECF

system, which will send a notice of electronic filing to all counsel of record.

                                              /s/ Gregory W. Kehoe
                                                Attorney




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